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                                                           December 8, 2020

TO BE FILED UNDER SEAL

VIA EMAIL (SUBMITTED PURSUANT TO SECTION 2(B)
OF JUDGE NATHAN’S INDIVIDUAL PRACTICES IN CRIMINAL CASES)

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        On behalf of our client, Ghislaine Maxwell, and pursuant to the Court’s order (Dkt. 89),
we respectfully submit under seal two versions of the Memorandum of Ghislaine Maxwell in
Support of Her Renewed Motion for Bail (the “Motion”) and accompanying exhibits: an
unredacted original to be kept under seal and a version for public filing with proposed narrowly
tailored redactions. The proposed redactions are based on the following: (1) privacy concerns, as
articulated in our letters of November 25, 2020 (Dkt. 86) and November 30, 2020 (Dkt. 87); and
(2) the Motion’s reference to, and discussion of, Confidential Information, including financial
documents and other materials produced in discovery and governed by paragraph 15 of the
Protective Order (Dkt. 36).

         Please contact us with any questions. Your consideration is greatly appreciated.

                                                           Respectfully submitted,



                                                              /s/ Christian R. Everdell
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